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                         Exhibit 6
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                                                                                                                   EXHIBIT




~ STATION OVERRUN REPORT
                                                                                                                   WMATA 10




                                    Complete this report for a Station Overrun,
                                                              •
                             or If you took action arid p·revented a Station Overrun.

     Date                        Time               StaUon                      Track#                 Car#




                             Oetans                  YES      NO                   Action Taken               ..
 At the S Marker, did the PSS lllunilnate?                   ·v
 Old the PSS fight stay lilumlnated untU
 the train stopped?                                          ·v
 Entering the platform, was the train
 speed less tt:,an or equal to 37 MPH?               v
 When the Operating Cab passed the                                                   ..
 center of the platform, was the train still In                          ..
 a breaking mode?                                    V               ;




 At the second platform marker coll, was .
 the actual train speed 20 MPH or less?    ~
Glva other pertinent Information below.                      ! ~         n_ .
 Ov:ernan sfc,-hon b, tali: cf q daar- ~ . n:.()6rM 1ne1dtttf· ±P




                                                       Payroll Number

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